                          Case 1:23-mj-06002-MPK
2-6   5HYLVHG86'&0$              Document 1-2 Filed 02/21/23 Page 1 of 2
Criminal Case Cover Sheet                                                           U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.        I                    Investigating Agency          HSI / IRS

City      Swampscott / Boston                      Related Case Information:

County       Essex / Suffolk                       6XSHUVHGLQJ,QG,QI                            &DVH1R        23-6002-MPK
                                                   6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                   0DJLVWUDWH-XGJH&DVH1XPEHU
                                                   6HDUFK:DUUDQW&DVH1XPEHU             21-2445-MBB
                                                   55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         Craig Clayton                                            -XYHQLOH                 G <HV G
                                                                                                                ✔ 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU              G           ✔
                                                                                                               <HVG1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH 52 Parkside Drive, Cranston, Rhode Island 02910
                      1949
%LUWKGDWH <URQO\ BBBBB661          6825
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB             5DFHBBBBBBBBBBB           1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                 John Walsh                               $GGUHVV JohnGWalshLaw@gmail.com

Bar Number                 555649                                                               617-851-2429

U.S. Attorney Information:

AUSA         Ian Stearns                                               %DU1XPEHULIDSSOLFDEOH

Interpreter:            G <HV          ✔ 1R
                                       G                     /LVWODQJXDJHDQGRUGLDOHFW

Victims:               ✔
                       G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                ✔ <HV
                                                                                                                 G              1R

Matter to be SEALED:                ✔
                                    G <HV          G     1R

          G✔ :DUUDQW5HTXHVWHG                         G 5HJXODU3URFHVV                         G ,Q&XVWRG\

Location Status:

Arrest Date                  02/23/2023

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                   LQ                                          
G $OUHDG\LQ6WDWH&XVWRG\DW                                          G 6HUYLQJ6HQWHQFH               G $ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH 2UGHUHGE\                                                     RQ

Charging Document:                     ✔ &RPSODLQW
                                       G                          G ,QIRUPDWLRQ                       G ,QGLFWPHQW
                                                                                                                   2
Total # of Counts:                     G 3HWW\                 G0LVGHPHDQRU                      G )HORQ\
                                                                                                      ✔

                                           &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     02/16/2023                          6LJQDWXUHRI$86$ /s/ Ian J. Stearns
                         Case 1:23-mj-06002-MPK Document 1-2 Filed 02/21/23 Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN                              23-6002-MPK

Name of Defendant                 Craig Clayton

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged         Count Numbers
                                                        Conspiracy to Commit Money Laundering
6HW     18 U.S.C. § 1956(h)                                                                             1

                                                        Obstruction of Justice
6HW     18 U.S.C. § 1512                                                                                2


6HW


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ADDITIONAL INFORMATION:                              THIS CASE WOULD BE ASSIGNED TO JUDGE BOWLER UNDER THE PRIOR

 PROCEEDINGS RULE. THE GOVERNMENT DEFERS TO THE CLERK'S OFFICE AND THE COURT AS TO WHETHER

IT SHOULD BE REFERRED BACK TO JUDGE BOWLER OR REMAIN WITH THE EMERGENCY MAGISTRATE JUDGE.



86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
